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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                           §
                                                   §
v.                                                 §        CRIMINAL NO. 1:21-CR-00314
                                                   §
SHAWN BRADLEY WITZEMANN                            §

      MEMO REGARDING DEFENDANT’S REQUEST FOR REARRAIGNMENT


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

       COMES NOW Defendant, through Counsel, and notifies This Honorable Court of his

intent to withdraw his earlier intent to proceed to a trial and, instead, to change his plea as to Count

4 of the Superseding Information to guilty.

       Defendant intends to proceed to rearraignment in accordance with the Plea Agreement and

Statement of Offense he signed on March 5, 2022.

       Defense Counsel has discussed this notice with the Assistant U.S. Attorneys assigned to

this case and has served a copy of this notice via email on this 22nd day of June, 2022.



                                                /S/ Guy L. Womack
                                                _________________________________
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